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                          UNITED STATES DISTRICT COURT
                                                                                 DEC -8 2016
                          WESTERN DISTRICT OF KENTUCKY
                                                                            U.S. Di -,-:;,·.CT COURT
                                  AT LOUISVILLE
                                                                           WEST'N. DlST KENTUCKY
UNITED STATES OF AMERICA                                                             PLAINTIFF


vs.                                               CRIMINAL ACTION NO .         _a_:_/t_C!_{(_-f_6tf1BR
KYLE WILLETT                                                                      DEFENDANT


                          MOTION TO SEAL INFORMATION

        Comes the United States of America, by counsel, John E. Kuhn, Jr. , United States

Attorney for the Western District of Kentucky, and moves the Court for an Order sealing the

Information, and all materials relating to the herein matter dated December 8, 2016. No person

may unseal or review the contents of the file or actions heretofore taken or to be taken without

the express written authorization of a Judge of the United States District Court for the Western

District of Kentucky

                                               Respectfully submitted,

                                               JOHN E. KUHN, JR.
                                               United States Attorney




                                               Bryan R. Calhoun
                                               Assistant U.S. Attorney
